Case 5:17-cr-00603-BLF Document 380 Filed 08/25/21 Page 1of1

AO 245A (Rev. 12/03) Judgment of Acquittal

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA
JUDGMENT OF ACQUITTAL

CASE NUMBER: 17-cr-00603-BLF-4
ROBERT EWALD

The Defendant was found not guilty. IT IS ORDERED that the Defendant is acquitted, discharged,

and any bond exonerated.

Aiaiphtenans

Signature of Juda’

Beth Labson Freeman, United States District Judge
Name and Title of Judge

August 25, 2021
Date
